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 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,        )    1:06-cr-00171 OWW
                                      )
12                    Plaintiff,      )
                                      )    ORDER TO PRODUCE EVIDENCE FOR
13                                    )    TESTING BY DEFENSE EXPERT
          v.                          )
14                                    )
                                      )
15   WESLEY SMILEY,                   )
                                      )
16                    Defendant.      )
                                      )
17

18        UPON THE REQUEST OF THE DEFENDANT for an order which requires

19   the Government to produce the following exhibit(s), to-wit:

20        Exhibit Number: 30

21        DEA Laboratory Number: 7132662

22   as reported in DEA FORM-7, REPORT OF DRUG PROPERTY COLLECTED,

23   PURCHASED OR SEIZED, having the Case File No. R9-03-0118, and

24   dated March 13, 2006, for qualitative analysis and identification

25   of the controlled substance contained therein by a defense expert,

26        IT IS HEREBY ORDERED in accordance with FED.R.CRIM.P

27   16(a)(1)(E), that the Government shall allow the defense to

28   independently inspect and analyze a representative sample from

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 1   each of the above-listed drug exhibit; and

 2        IT IS FURTHER ORDERED that a Drug Enforcement Administration

 3   (DEA) Special Agent or Task Force Officer shall deliver the drug

 4   exhibit(s) identified above to chemist Bill Posey, of the Central

 5   Valley Toxicology, Incorporated, DEA Registration No. RC0112095,

 6   located at 1521 Tollhouse Road, Suite J, Clovis, California, with

 7   telephone number 559-323-9940.       The DEA Western Laboratory shall

 8   arrange the delivery of said representative sample on or before

 9   July 17, 2008, to the DEA Special Agent or Task Force Officer for

10   delivery to Bill Posey, of the Central Valley Toxicology,

11   Incorporated; and

12        IT IS FURTHER ORDERED, that upon delivery of the exhibit

13   identified above to the defense expert, that a DEA Special Agent

14   or Task Force Officer shall be present when the defense expert

15   inspects, weighs and removes a representative sample of the

16   exhibit(s) identified above for analysis.         The representative

17   sample shall be in the amount of 500 mg or not more than one-half

18   (1/2) the current reserve weight, if less than 1 gram presently

19   remains as the reserve weight, from each of the above-described

20   exhibit.   The weight of each representative sample taken shall be

21   documented and signed by the defense expert and provided to the

22   DEA Special Agent or Task Force Officer in attendance.             Upon the

23   completion of the sample removal and weighing, the defense expert

24   shall, forthwith, return the remaining above-listed exhibit to the

25   DEA Agent and Task Force Officer in attendance; and

26        IT IS FURTHER ORDERED, that the defense expert shall conduct

27   the qualitative analyses and identification ordered herein, and

28   shall provide the Government with an Unsworn Declaration Under

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 1   Penalty of Perjury, under 28 U.S.C. § 1746, executed by the

 2   individual who conducted the analyses, or the head of the facility

 3   where the analyses occurred, which states the quantity of each

 4   exhibit consumed during testing, and either the weight of each

 5   exhibit returned to the Government, or a statement that all sample

 6   was consumed during testing; and

 7           IT IS FURTHER ORDERED that all remaining material of the

 8   sample, after testing, is to be returned by Bill Posey to the DEA

 9   Western Laboratory via registered U.S. mail, return receipt

10   requested, or approved commercial carrier, within five (5)

11   business days after the completion of analyses; and

12           IT IS FURTHER ORDERED, in accordance with FED. R. CRIM. P.

13   16(b)(1)(B), that the defendant shall provide the Government with

14   a copy of the results or report of the physical examinations and

15   scientific tests or experiments which resulted from the analyses

16   conducted under this Order: and

17           IT IS FURTHER ORDERED, that Bill Posey is to safeguard the

18   representative sample received, preserving the chain of custody in

19   //

20   //

21   //

22   //

23   //

24   //

25   //

26   //

27   //

28   //

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 1   a manner to faithfully protect the integrity of each exhibit

 2   received.

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 5   IT IS SO ORDERED.

 6   Dated: July 18, 2008                   /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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